           Case: 23-16032, 08/03/2023, ID: 12767807, DktEntry: 21, Page 1 of 6




                       UNITED STATES COURT OF APPEALS                     FILED
                             FOR THE NINTH CIRCUIT                         AUG 3 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
EAST BAY SANCTUARY COVENANT; et No. 23-16032
al.,
                                         D.C. No. 4:18-cv-06810-JST
                Plaintiffs-Appellees,    Northern District of California,
                                         Oakland
  v.
                                         ORDER
JOSEPH R. BIDEN, President of the United
States; et al.,

                  Defendants-Appellants.

Before: W. FLETCHER, PAEZ, and VANDYKE, Circuit Judges.

Order by Judges W. FLETCHER and PAEZ; Dissent by Judge VANDYKE.

         The motion to stay the district court’s July 25, 2023, order and judgment

(Docket Entry No. 8) is granted. See Nken v. Holder, 556 U.S. 418, 434 (2009)

(defining standard for stay pending appeal).

         We sua sponte expedite the briefing and hearing of this appeal. The opening

brief and excerpts of record are due August 24, 2023. The answering brief is due

September 14, 2023. The optional reply brief is due within 7 days after service of

the answering brief.

         The date for argument will be set by separate order.




OSA114
           Case: 23-16032, 08/03/2023, ID: 12767807, DktEntry: 21, Page 2 of 6




East Bay Sanctuary Covenant v. Biden, No. 23-16032
VanDyke, Circuit Judge, dissenting from the grant of a stay pending appeal:
         My colleagues in today’s majority grant a stay pending appeal of a district

judge’s order vacating a recently promulgated immigration rule. Only a few years

ago, these same colleagues affirmed the same district judge enjoining the Trump

administration’s rule restricting asylum eligibility for immigrants who entered the

United States outside a designated port of entry (the Port of Entry Rule). E. Bay

Sanctuary Covenant v. Biden, 993 F.3d 640, 668–75, 681 (9th Cir. 2021) (“East

Bay II”). They did so in a published, precedential opinion, undeterred by a chorus

of dissenting colleagues. Id. at 687–96 (Bumatay, J., dissenting, joined by five

judges), 696–705 (VanDyke, J., dissenting); see also E. Bay Sanctuary Covenant v.

Biden, 932 F.3d 742, 780–81 (9th Cir. 2018) (“East Bay I”) (Leavy, J., dissenting).

Quickly thereafter, one of my colleagues in today’s majority penned another

published, precedential decision again affirming a Judge Tigar decision striking the

Trump administration’s rule restricting asylum eligibility for aliens who passed

through another country on the way to the United States without seeking asylum in

that country (the Transit Rule). E. Bay Sanctuary Covenant v. Garland, 994 F.3d

962, 974–88 (9th Cir. 2021) (“East Bay III”). The panel there did so notwithstanding

the Supreme Court’s earlier decision in that very case staying Judge Tigar’s rulings

pending appeal, Barr v. E. Bay Sanctuary Covenant, 140 S. Ct. 3 (2019), evincing




OSA114                                     2                                     23-16032
           Case: 23-16032, 08/03/2023, ID: 12767807, DktEntry: 21, Page 3 of 6




that the government had made the requisite “strong showing” that it was likely to

succeed in its defense of the rule, Nken v. Holder, 556 U.S. 418, 426 (2009).

         Indeed, one or both of my colleagues in today’s majority were directly

involved in eliminating at least four different Trump administration immigration

rules. See City & Cnty. of S.F. v. U.S. Citizenship & Immigr. Servs., 981 F.3d 742,

754–63 (9th Cir. 2020) (Public Charge Rule); Innovation Law Lab v. Wolf, 951 F.3d

986, 987–91 (9th Cir. 2020) (Remain in Mexico Rule); East Bay II, 993 F.3d at 668–

75 (Port of Entry Rule); East Bay III, 994 F.3d at 975–85 (Transit Rule). It’s not an

exaggeration to say that, whenever the Trump administration sought to make any

meaningful adjustment to our nation’s immigration rules, the Northern District of

California—and ultimately our court—systematically killed each of those changes.

         The Biden administration’s “Pathways Rule” before us in this appeal is not

meaningfully different from the prior administration’s rules that were backhanded

by my two colleagues. This new rule looks like the Trump administration’s Port of

Entry Rule and Transit Rule got together, had a baby, and then dolled it up in a

stylish modern outfit, complete with a phone app. Relying on this court’s rationales

in our prior decisions rejecting the Trump administration’s rules, Judge Tigar

concluded that this new rule is indistinguishable from those rules in any way that

matters. He’s right. For those who value the rule of law, following precedent, and

predictability, one must conclude Judge Tigar had no choice but to vacate the current


OSA114                                     3                                     23-16032
           Case: 23-16032, 08/03/2023, ID: 12767807, DktEntry: 21, Page 4 of 6




administration’s Pathways Rule for the reasons that he first provided and my

colleagues then established as binding precedent during the Trump administration.

         I’d love to join my two colleagues in staying Judge Tigar’s ruling. I obviously

agree with that result as a matter of first impression. See East Bay II, 993 F.3d at

696 (VanDyke, J., dissenting). But unlike my colleagues, I cannot so easily ignore

our circuit’s binding precedent. And that is particularly true given the demanding

standard the government faces in asking us for a stay. Among other hurdles the

government must overcome, it must make a “strong showing” that, applying our

court’s caselaw, it “is likely to succeed on the merits.” Id. at 702 (quoting Nken, 556

U.S. at 426 (emphasis added)). That simply is not possible under the sweeping

rationales this court applied in our still-steaming cases terminating the Trump

administration’s immigration rules.

         My colleagues, who made all that precedent, should not be able to now just

elide it. It’s hard to shake the impression that something other than the law is at

work here.

         Besides the glaring fact that this rule was promulgated under a different

administration, there is at least one additional possible reason why my colleagues

are granting a stay in this case. Perhaps they see the writing on the wall that, if we

don’t stay the district court’s vacatur, the Supreme Court likely will. I fully agree.

Given the legal infirmities in our caselaw that Judge Tigar is bound by our court to


OSA114                                      4                                    23-16032
           Case: 23-16032, 08/03/2023, ID: 12767807, DktEntry: 21, Page 5 of 6




perpetuate, combined with his latest ruling’s disruption of the government’s

immigration system, there is a good chance the Supreme Court would need to step

in. But notwithstanding the wrongness of Judge Tigar’s vacatur, it is fully consistent

with—nay, compelled by—our court’s wrong precedent. And we (and Judge Tigar)

are unfortunately obligated to follow that precedent—whether we now like it or

not—until it is corrected by either our en banc court or the Supreme Court. See

Miller v. Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en banc) (holding that a

published opinion may only be overruled by a three-judge panel where the “relevant

court of last resort … undercut the theory or reasoning underlying the prior circuit

precedent in such a way that the cases are clearly irreconcilable”). There is no

exception to binding circuit precedent for when we realize “that terrible law we made

back when it was expedient is so bad the Supreme Court is likely to correct us.”

         I wish I could join the majority in granting a stay. It is the right result. But

that result, right as it may be, isn’t permitted by the outcome-oriented mess we’ve

made of our immigration precedent. Our own words should bind us with as much

force as Odysseus’s ropes did. The rule now before the panel is not so meaningfully

distinct from our past rules that it can navigate between the Scylla and Charybdis of

our prior decisions striking down the Port of Entry Rule (East Bay II) and the Transit

Rule (East Bay III). This latest rule is made up of materials borrowed from prior




OSA114                                       5                                   23-16032
           Case: 23-16032, 08/03/2023, ID: 12767807, DktEntry: 21, Page 6 of 6




rules we already shipwrecked, and were this panel to stay true to its precedents, they

would require our court to similarly tear the Pathways Rule asunder.

         Today’s inconsistent ruling isn’t a win for the rule of law and principled

decision-making; it is unfortunately the opposite. I must respectfully dissent.




OSA114                                     6                                     23-16032
